      Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 1 of 39




                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



Ivan Mosi Pickens


    v.                                       Civil No. 14-cv-028-SM


Judy Baker, Jason Goyette, Keith Griffin,
Ralph Jesseman, Howard Kelley, Robert King,
Michael McCann, Edward McFarland, Terry Oliver,
Michael Wedge, and David Wilson




                      REPORT AND RECOMMENDATION

     Before the court is the motion for summary judgment (doc.

no. 136), filed by New Hampshire Department of Corrections

(“DOC”) Nurse Practitioner Judy Baker, and current and former

DOC corrections officers Jason Goyette, Keith Griffin, Ralph

Jesseman, Robert King, Michael McCann, Edward McFarland, Terry

Oliver, Michael Wedge, and David Wilson.1       Defendants seek

summary judgment on all claims asserted against them.

Plaintiff, Ivan Mosi Pickens, objects (doc. no. 138).

     For reasons set forth below, the district judge should

grant defendants’ summary judgment motion (doc. no. 136) and

direct entry of judgment for defendants on all claims.

1
  The remaining defendant, former DOC employee Howard Kelley, has
not been served and has not appeared in this action.
       Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 2 of 39




Additionally, the district judge should dismiss, without

prejudice, the claims against the remaining defendant, Howard

Kelley, pursuant to Fed. R. Civ. P. 4(m).         The court should deny

as moot Pickens’s petition for a writ of habeas corpus ad

testificandum (doc. no. 168) and close the case.



                                Background

       At all times relevant to consideration of the summary

judgment motion, Pickens was an inmate at the Northern New

Hampshire Correctional Facility (“NCF”) in Berlin, New

Hampshire.    Pickens arrived at NCF on August 9, 2011, after his

transfer from the New Hampshire State Prison (“NHSP”) in

Concord.   See Doc. No. 138-5.      That afternoon, Pickens was

assigned to a cell without a cellmate in the NCF Closed Custody

Unit (“CCU”).    See id.; Ivan Mosi Pickens Dep., Apr. 22, 2015,

Defs.’ Ex. B (“Pickens Dep.”), at 21 (doc. no. 136-3, at 6).

       NCF officers conduct rounds to count inmates in the CCU.

The last CCU inmate “standing count” on August 9, 2011, occurred

at 8:30 p.m., and the last count of the day occurred at 11:15

p.m.   See NCF Rounds Log, Defs.’ Ex. E-3 (“Rounds Log”) (doc.

no. 136-20, at 1-2); Michael Wedge Aff., July 29, 2015, Defs.’

Ex. F, ¶ 7 (doc. no. 136-22, at 1-2); Keith Griffin Aff., July


                                     2
      Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 3 of 39




29, 2015, Defs.’ Ex. E, ¶ 8 (doc. no. 136-17, at 2).          The August

9 evening distribution of medication to CCU inmates, known as

the “D med call,” occurred before the last count of the day, at

approximately 9:40 p.m.     See Rounds Log (doc. no. 136-20, at 1-

2).   During med calls, an officer in the CCU control room opens

cell doors of CCU inmates receiving medications, to allow them

to receive them in the hall under the supervision of “floor”

duty CCU corrections officers.      See id.; Ralph Jesseman Aff.,

July 30, 2015, Defs.’ Ex. H (“Jesseman Aff.”), ¶¶ 5-6 (doc. no.

136-26, at 1).   Pickens’s cell door was opened for the August 9

D med call, although, Pickens asserts, Pickens’s name was not on

the D Med call list.    See Pickens Dep., at 37-38 (doc. no. 136-

3, at 10-11).

      After Pickens’s cell door had been opened, Pickens was

attacked in his cell by other inmates.       See Pickens Dep. at 37-

39 (doc. no. 136-3, at 10-11).      Pickens’s attackers beat him

about the head and torso, causing injuries including knocked out

teeth, a broken jaw, and a fractured eye socket, leaving him

semi-conscious for a period of time.       See Pickens Dep. at 46-49

(doc. no. 136-3, at 12-13); Doc. No. 136-21, at 2-3; Doc. No.

137-12, at 7 (Androscoggin Valley Hospital (“AVH”) Emergency

Room Evaluation) (Bates 000158); Doc. No. 137-12, at 23


                                    3
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 4 of 39




(Dartmouth Hitchcock Medical Center (“DHMC”) Progress Notes,

Sept. 6, 2011) (Bates 000492); Pickens Dep. at 83 (doc. no. 136-

3 at 22).

    Pickens, an African American, maintains that his assailants

were members of a violent white supremacist prison gang, known

as the Brotherhood of White Warriors (“BOWW”).        In particular,

Pickens accuses inmate Jonathan Stafford, a CCU inmate on August

9, known by DOC officials to be associated with BOWW.         See

Pickens Dep. at 38-39 (doc. no. 136-3, at 11).        Stafford’s CCU

cell on August 9 was on a different floor than Pickens’s.           It is

standard procedure for CCU officers to keep inmates from

different tiers separated.    See Pickens Dep. at 23-24 (doc. no.

136-3, at 7); Jesseman Aff. ¶ 11 (doc. no. 136-26, at 2).

    Corrections Officer (“C.O.”) Keith Griffin was the first

NCF officer to respond to Pickens after the assault.         At 11:15

p.m. on August 9, while conducting the last count of the day,

Griffin saw that Pickens was sitting on the end of his bed with

a swollen face and other injuries.      See Doc. No. 136-21, at 2.

Pickens was transported to the AVH Emergency Department that

night, where he was evaluated by an emergency room physician,

who consulted by phone with a DHMC plastic surgeon.        See Pl.’s

(Proposed) Stip. of Fact ¶ 2 (doc. no. 162, at 10).        Pickens was


                                   4
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 5 of 39




discharged to the NCF Health Services Center on August 10, 2011,

with AVH discharge instructions stating that Pickens should be

scheduled for a plastic surgery consultation at DHMC in “5-7

days.”   Doc. No. 137-12, at 8 (Bates No. 000159); Pickens Dep.

at 67 (doc. no. 136-3, at 18).

    On August 10, 2011, NCF Nurse Practitioner Judy Baker

reviewed the AVH records, met with Pickens, and issued an order

directing that a DHMC plastic surgery consultation be scheduled

for Pickens for August 15 or 16, 2011.      Doc. No. 137-12, at 3

(Consult Order, Aug. 10, 2011) (Bates No. 000154); Doc. No. 137-

10, at 24 (Bates No. 000085); Judy Baker Aff., July 29, 2015

(“Baker Aff.”) ¶ 11 (doc. no. 136-52, at 2); Pickens Dep. at 64

(doc. no. 136-3, at 17); Doc. No. 137-11, at 14 (DOC Progress

Notes, Aug. 10, 2011) (Bates No. 000118).       Baker placed her

consult order into an NCF outbox for delivery to the NCF

transportation team, for the plastic surgery appointment to be

scheduled.   See Baker Aff. ¶ 11 (doc. no. 136-52, at 2).        The

DOC has designated the transportation team to serve as the

appointment coordinator for outside medical appointments, with

assistance from the Health Unit Coordinator, as needed.         See DOC

Policy and Procedure Directive (“PPD”) 6.15(IV)(A) (doc. no.

144-5, at 1).   Baker was on vacation from August 12 through


                                   5
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 6 of 39




August 28, and was out of the office again from August 31

through September 5.   See Baker Aff. ¶ 13 (doc. no. 136-52, at

2); Doc. No. 137-13, at 1-3 (DOC Time Sheet).

    The record lacks direct evidence of the status of Baker’s

August 10 consult order from the time Baker put it into an

outbox until August 16, when NCF transport officer Michael

McCann processed the order by calling DHMC to request the first

available plastic surgery appointment for Pickens.        See Aff. of

Michael McCann, July 30, 2015 (“McCann Aff.”) ¶ 4 (doc. no. 136-

43, at 2); Pickens Dep. at 69 (doc. no. 136-3 at 18).         DHMC

offered an appointment with plastic surgeon Dr. Gary Freed on

August 31, and McCann scheduled that appointment on Pickens’s

behalf.   See McCann Aff. ¶ 4 (doc. no. 136-43, at 2).        Seeking

an earlier appointment for Pickens, the NCF Nursing Supervisor

called DHMC on August 22, but DHMC was unable to offer an

earlier appointment with Dr. Freed.        See Doc. No. 137-11, at 10

(DOC Progress Notes, Aug. 22, 2011) (Bates No. 000114).

    NCF transport officers brought Pickens to Dr. Freed’s

office for his August 31 appointment.        Dr. Freed examined

Pickens and concluded that plastic surgery was needed to repair

a right orbital floor fracture.        See Doc. No. 137-12, at 5

(Progress Note, Gary Freed, MD, Aug. 31, 2011) (Bates No.


                                   6
      Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 7 of 39




000156).   Dr. Freed was concerned about the delayed timing of

Pickens’s appointment, relative to his injuries.         Pickens

testified that Dr. Freed asked him on August 31 why it took so

long for him to come in, and also that Dr. Freed said Pickens

had been a “no-show” for two earlier DHMC appointments.2           Pickens

Dep. at 80-81 (doc. no. 136-3 at 21).       After the August 31

appointment, Dr. Freed called the NCF Health Services Center and

spoke with NCF Nurse Tina Pageau, who noted in Pickens’s medical

records that Dr. Freed was upset with the scheduling of

Pickens’s appointments and wanted to speak to the nurse

practitioner or someone in charge.       See Pl.’s Proposed Stip. ¶¶

3-4 (doc. no. 162, at 10); Doc. No. 137-11, at 7 (DOC Progress

Notes, Aug. 31, 2011) (Bates No. 000111).        Nurse Pageau’s notes

say she gave Dr. Freed the number of the “OIC” (officer in

charge), and that she called that officer to let him know Dr.

Freed might call him.    See Doc. No. 137-11, at 7 (DOC Progress

Notes, Aug. 31, 2011) (Bates No. 000111).

     Pickens underwent surgery to repair his right eye socket at

DHMC on September 6, 2011.     Pickens Dep. at 67-68 (doc. no. 136-

2
  Documents in the record generated by DHMC do not show that any
earlier appointments had been scheduled for Pickens at DHMC,
prior to the August 31 appointment. See Doc. No. 136-45, at 3
(DHMC Appointment Detail for Pickens, Aug. 31, 2011). See also
Ltr. from Shannon Creighton to Atty. Cusack, Feb. 27, 2015
(Defs. Ex. P-1).
                                7
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 8 of 39




3, at 18).   A DHMC appointment coordinator set up a follow-up

appointment for 3 p.m. on September 14.      On September 13, Nurse

Baker prepared a consult order for that appointment.         See Doc.

No. 137-11, at 39 (Bates No. 000147) (DOC Consult Order); Doc.

No. 137-12, at 1 (DHMC Discharge Summary, Sept. 6, 2011) (Bates

No. 000152).   The consult order directed that an appointment be

scheduled at the time and date requested by DHMC (September 14,

2011, at 3 p.m.), as a post-surgical follow up to surgery on

September 6 for facial trauma and multiple fractures.         See Doc.

No. 137-11, at 39 (Bates No. 000147).

    DHMC called NCF on September 14 to say that Pickens’s

3 p.m. appointment had to be moved ahead one hour, to 2 p.m., to

accommodate Dr. Freed’s surgery schedule.       See David Wilson

Aff., July 29, 2015 (“Wilson Aff.”) ¶ 13 (doc. no. 136-35, at

4); Doc. No. 136-45, at 5 (DHMC Appointment Detail, Sept. 14,

2011).   NCF transport officer Sgt. David Wilson, who spoke with

the DHMC appointment coordinator, cancelled the 2 p.m.

appointment and rescheduled it for September 27, the next

available appointment with Dr. Freed offered by DHMC.         See Pl.’s

(Proposed) Stip. of Facts ¶ 6 (doc. no. 162, at 11); Doc. No.

137-10 (DOC Progress Notes, Sept. 14, 2011) (Bates No. 000103);

Doc. No. 136-45, at 5 (DHMC Appointment Detail, Sept. 14, 2011).


                                   8
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 9 of 39




Wilson’s sworn statement is that he sincerely believed NCF

transport officers could not bring Pickens on time to a 2 p.m.

appointment at DHMC in Lebanon, New Hampshire, when Wilson

rescheduled the 2 p.m. appointment.      Wilson Aff. ¶ 13 (doc. no.

136-35, at 4).   NCF officers in a van leaving the facility with

Pickens on September 14 returned to NCF at 11:45 a.m., after the

appointment was cancelled.    See Doc. No. 137-15 (NCF Gatehouse

Shift Log, Sept. 14, 2011).

    Pickens’s first post-surgical follow-up appointment with

Dr. Freed occurred on September 27.      Dr. Freed’s September 28

notes state that Pickens was doing well, but that he had a tight

right lower eyelid.   See Doc. No. 137-12, at 31-32 (DHMC

Progress Notes, Gary Freed, MD, Sept. 28, 2011) (Bates No.

000500-501).   Pickens had no complaints of visual issues, dry

eye or cosmetic deformity, and was both satisfied with his

appearance and also unwilling to undergo surgery to correct what

Dr. Freed perceived to be “subtle enophthalmos.”        See id. at 32

(Bates No. 000501).   Dr. Freed concluded that a second post-

surgical follow-up appointment was needed in three months,

during which Dr. Freed would be able to ensure that Pickens’s

right eyelid did not continue to retract, and that Pickens did

not develop dry eye issues from incomplete closure.        See id.


                                   9
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 10 of 39




    On December 1, 2011, Pickens was seen again by Dr. Freed,

see Baker Aff. ¶ 20 (doc. no. 136-52, at 3).        Dr. Freed noted a

slight enophthalmos (2 mm), and further noted that Pickens’s

right lower lid was supple, that Pickens was doing well, and

that his complaints of episodic diplopia could not be elicited

on exam.    See Doc. No. 137-12, at 32 (DHMC Progress Notes, Gary

Freed, MD, Dec. 5, 2011) (Bates No. 000501).        Dr. Freed

concluded that an “optho” [sic] follow up seemed appropriate.

See id. at 33 (Bates No. 000502).

    Pickens filed this action in 2014, seeking damages under 42

U.S.C. § 1983, for claims asserting violations of his rights

under the Eighth and Fourteenth Amendments, relating to the

August 9 assault and delays in his receipt of medical care in

August and September 2011.     All of the defendants who have been

served in this action have now jointly moved for summary

judgment.   The movants contend that judgment should be entered

as a matter of law for defendants on the merits of each claim,

and that the action must also be dismissed in accordance with

the Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a),

because Pickens did not exhaust administrative remedies as

required by PPD 1.16.    Now fully briefed (see Doc. Nos. 136,

137, 138, 140, 141, 144, and 145), the summary judgment motion


                                   10
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 11 of 39




has been referred to this magistrate judge for a report and

recommendation, pursuant to LR 72.1.



                              Discussion

I.   Summary Judgment Standard

     “‘Summary judgment is appropriate when there is no genuine

issue of material fact and the moving party is entitled to

judgment as a matter of law.’”     Ponte v. Steelcase, Inc., 741

F.3d 310, 319 (1st Cir. 2014) (citation omitted); see also Fed.

R. Civ. P. 56(a).   When ruling on a motion for summary judgment,

the court must “view[] the entire record ‘in the light most

hospitable to the party opposing summary judgment, indulging all

reasonable inferences in that party’s favor.’”        Winslow v.

Aroostook Cty., 736 F.3d 23, 29 (1st Cir. 2013) (citation

omitted).   “All properly supported material facts set forth in

the moving party’s factual statement may be deemed admitted

unless properly opposed by the adverse party.”        LR 56.1(b).

     “‘The nonmovant may defeat a summary judgment motion by

demonstrating, through submissions of evidentiary quality, that

a trialworthy issue persists.’”      Sánchez-Rodríguez v. AT&T

Mobility P.R., Inc., 673 F.3d 1, 9 (1st Cir. 2012) (citation

omitted).   “‘Conclusory allegations, improbable inferences, and


                                   11
      Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 12 of 39




unsupported speculation, are insufficient to establish a genuine

dispute of fact.’”    Travers v. Flight Servs. & Sys., Inc., 737

F.3d 144, 146 (1st Cir. 2013) (citation omitted).

II.   Eighth Amendment Endangerment (Claims 1(a) and (b))

      Defendants move for judgment as a matter of law on the

merits of Pickens’s Claims 1(a)-(b), which allege that

defendants, acting with deliberate indifference, failed to

protect Pickens from a substantial risk of serious harm.3

Defendants assert that Pickens has failed to present a triable

issue with respect to the subjective aspect of Pickens’s Eighth

Amendment failure to protect claim.



3
This court has identified Claim 1 as follows:

      Corrections Officers Terry Oliver, Keith Griffin, Ralph
      Jesseman, Edward McFarland, and Michael Wedge failed to
      protect Pickens, in violation of his Eighth Amendment
      rights when, on August 9, 2011, with deliberate
      indifference to a substantial risk of serious harm to
      Pickens, defendants took action that allowed Jonathan
      Stafford, a known member of a white supremacist prison
      gang, to gain access to Pickens’s cell and to assault
      Pickens, in that:

           a.   Jesseman, Griffin, McFarland, Oliver, and Wedge
           caused upstairs cell doors and Pickens’s door to be
           opened simultaneously, contrary to standard operating
           procedures; and

           b.   Jesseman, Griffin, McFarland, and Wedge failed to
           make rounds for more than four hours, contrary to
           standard operating procedures.
                                 12
        Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 13 of 39




    A.       Eighth Amendment Standard

    Under the Eighth Amendment, prison officials have a

“constitutional duty ‘not to be deliberately indifferent to the

risk to prisoners of violence at the hands of other prisoners.’”

Mosher v. Nelson, 589 F.3d 488, 493 (1st Cir. 2009) (citation

omitted).     To state an Eighth Amendment failure to protect

claim, the prisoner must show that a prison official acted with

“‘deliberate indifference’” to a serious risk to the prisoner’s

health or safety.      Giroux v. Somerset Cty., 178 F.3d 28, 32 (1st

Cir. 1999) (quoting Farmer v. Brennan, 511 U.S. 825, 828

(1994)).

    An Eighth Amendment claim for failure to protect has both

an objective and a subjective component.          See Mosher, 589 F.3d

at 493.     With respect to the subjective component of a failure

to protect claim, the plaintiff must show that defendants had a

“sufficiently culpable state of mind,” namely, “‘deliberate

indifference’ to an inmate’s health or safety.”           Calderón-Ortiz

v. LaBoy-Alvarado, 300 F.3d 60, 64 (1st Cir. 2002) (quoting

Farmer, 511 U.S. at 834).        Proving deliberate indifference

requires proof of more than mere negligence as to a risk of

harm.    Wilson v. Seiter, 501 U.S. 294, 305 (1991).          Deliberate

indifference requires a showing that a prison official was


                                      13
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 14 of 39




subjectively aware of a substantial risk of serious harm to an

inmate, and disregarded that risk.      Farmer, 511 U.S. at 828-29.

    B.    Deliberate Indifference

          1.    Opening of Pickens’s Cell and Frequency of Rounds

    Pickens has alleged that defendant C.O. Terry Oliver and

other guards, in “cahoots” with white supremacist inmates,

caused Pickens’s cell door to be open during D Med call for the

purpose of allowing inmates to attack Pickens.        Pickens’s

allegations regarding why his cell door was opened, however, are

purely speculative.    Defendant Jesseman has filed a sworn

statement, consistent with DOC records, indicating that he was

the control room officer at the relevant time on August 9; he

has further averred that while he does not specifically recall

opening Pickens’s cell door for the D Med Call, if he did so

while other inmates from a different tier were out, it would

have been an inadvertent act.     See Jesseman Aff. ¶¶ 8, 11 (doc.

no. 136-26).   Jesseman stated that he would not have opened

Pickens’s door in response to any inmate’s request, even if the

other inmate stated that Pickens needed to receive medication,

as Jesseman would not open a cell door unless there was a

reasonable and/or legitimate penological objective for doing so.

See id. ¶¶ 3, 9-10.


                                   14
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 15 of 39




    It is undisputed that defendant McFarland left NCF before

Pickens was assaulted.    See Lt. Edward McFarland Aff., July 22,

2015 (“McFarland Aff.”) ¶ 3 (doc. no. 136-24, at 1).         There is

no evidence that McFarland had subjective knowledge that

Pickens’s door would be opened during the D Med Call, or that he

was deliberately indifferent to any known risk that Pickens

would otherwise be subjected to a substantial risk of serious

harm in his absence.    Accordingly, McFarland’s motion for

summary judgment should be granted on that basis.

    NCF records corroborate defendant Oliver’s sworn statement

that he, too, left the prison hours before the assault.          See

Terry Oliver Aff., July 24, 2015 (“Oliver Aff.”) ¶ 2 (doc. no.

136-28, at 1); NCF Time Sheet, Aug. 9, 2011 (doc. no. 137-9).

Accepting as true Pickens’s testimony that he saw Oliver in the

control room in the relevant time period does not change the

result with respect to Oliver’s motion for summary judgment,

however, as there is no evidence suitable for consideration on

summary judgment that Oliver or any other NCF officer caused

Pickens’s cell door for the D Med Call to be opened at any other

inmate’s request.

    The opening of Pickens’s cell door during D Med Call, if

proven, might be deemed negligent on this record, but without


                                   15
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 16 of 39




more, that failure does not give rise to a triable issue of

deliberate indifference.    Similarly, the other alleged

departures from standard procedures asserted in Pickens’s

deposition or in his declaration, for which he might be able to

establish a foundation – namely, the claimed failure of the

control room officer to keep Pickens’s cell door closed during

the August 9 D Med Call, the alleged failure of Officers Griffin

and Wedge to conduct rounds at the frequency they logged

contemporaneously and attested to in their sworn statements, see

Doc. No. 136-20, at 1-2 (Bates No. 000009-10); Griffin Aff. at

¶ 8 (doc. no. 136-17, at 2); Wedge Aff. at ¶¶ 4, 8 (doc. no.

136-22, at 1-2); and the alleged failure of defendants to keep

Stafford, on a different tier, separated from Pickens – even if

proven, would not give rise here to a genuine issue of fact

regarding any defendant’s state of mind, sufficient to allow

Claim 1 to proceed to trial.

          2.    Stafford, Lavoy, and Racial Tension

    The record before this court does not present a genuine

issue regarding whether any defendant officer had subjective

knowledge that Stafford, or any other inmate in the CCU on

August 9, presented a substantial risk of harm to Pickens.

Pickens alleges such knowledge existed, because, in 2010, when


                                   16
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 17 of 39




Pickens was previously incarcerated at NCF, he testified, he was

involved in an “incident” with an inmate Pickens identifies as

“Jamie Lavoy,” whom Pickens describes as a “white racist.”

Pickens Dep. at 6-7 (doc. no. 136-3, at 3).        The evidence before

this court does not show, however, that any defendant to Claim 1

knew about the Lavoy incident, that Lavoy was affiliated with

BOWW or Stafford, that Lavoy was in the CCU on August 9, or that

any defendant subjectively connected an incident between Lavoy

and Pickens with an elevated risk of harm to Pickens presented

by any CCU inmate on August 9, 2011.

    Additionally, Pickens testified, when he was in the NHSP

Special Housing Unit in Concord from June 2011 through August

2011, he overheard inmate Stafford make a nonspecific indirect

threat against African Americans.       Pickens has not shown,

however, that any defendant in this case was aware of that

indirect threat.   The record does not include any DOC record

documenting the existence of such a threat, and there is no

evidence that any defendant knew that Pickens had specific

concerns about Stafford or BOWW prior to the assault.         It is

undisputed that DOC’s “keep separate” list for Pickens on August

9, 2011, included neither Stafford, nor any other inmate celled

in the NCF CCU on that date.     See William Daniel Hammer Aff.,


                                   17
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 18 of 39




July 28, 2015, ¶¶ 6-8 (doc. no. 136-13).        Cf. DOC Offender

Summary Report, Ivan Mosi Pickens (doc. no. 137-1).         There is no

evidence in this case that any defendant to Claim 1(a) or 1(b)

witnessed or otherwise knew about Pickens’s prior incidents with

any inmate in the CCU on August 9.

    Pickens has also asserted in an unsworn filing that there

was “racial tension” in the CCU.        An unsworn averment is not

appropriately considered on summary judgment.        Even if that fact

could be proven, it is not evidence that guards were

subjectively aware of an elevated risk of serious harm to

Pickens on that date.

    By the same token, plaintiff’s claim of a conspiracy

between white supremacists and defendants is purely speculative

and conclusory.   A bald assertion unsupported by any evidence,

that guards collaborated with violent inmates to harm Pickens,

does not give rise to a genuine issue of material fact, as to

the officers’ motive or state of mind sufficient to allow an

Eighth Amendment endangerment claim to proceed to trial.

Accordingly, the district judge should grant defendants’ motion

for summary judgment on Claims 1(a) and 1(b).

III. Equal Protection (Claims 2(a)-(b))

    Defendants move for judgment as a matter of law on


                                   18
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 19 of 39




Pickens’s equal protection claims, Claims 2(a)-(b), alleging

racially discriminatory delays in Pickens’s receipt of medical

treatment.4   Defendants contend that there is not a triable issue

as to Pickens’s equal protection claims, and that they are

entitled to judgment as a matter of law on those claims.          In

addition, defendants assert that Pickens did not exhaust his

administrative remedies on his equal protection claims relating

to delays in his receipt of care from a plastic surgeon.




4
  This court has identified Claims 2(a)(i)-(ii) and 2(b)(i)-(ii)
as follows:

     Defendants NCF Nurse Judy Baker, Cpl. Jason Goyette,
     Corrections Officer (“C.O.”) Howard Kelley, C.O. Robert
     King, C.O. Michael McCann, and Sgt. David Wilson violated
     Pickens’s Fourteenth Amendment equal protection rights by
     discriminating against Pickens on the basis of his race, in
     that, without similarly cancelling appointments, failing to
     transport, or otherwise delaying the care provided to a
     white inmate, Stephen Rich, who had been less severely
     injured in an inmate assault one week after Pickens:

          a.   Baker cancelled or delayed Pickens’s appointments
          for surgery and post-surgical care, (i.) in August
          2011, and (ii.) on September 14, 2011; and

          b.   Goyette, Kelley, King, McCann, and Wilson did not
          cause Pickens to be transported to scheduled plastic
          surgery and follow-up appointments, (i.) in August
          2011 and/or (ii.) on September 14, 2011, causing
          delays in his treatment.




                                   19
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 20 of 39




    A.    Equal Protection Standard

    The Fourteenth Amendment’s Equal Protection Clause requires

states to treat similarly-situated people in a similar manner.

City of Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432,

439 (1985).   Generally, to establish an equal protection claim,

a plaintiff must demonstrate that, (1) compared with others

similarly situated, he was selectively treated, and (2) that the

selective treatment was motivated by purposeful discrimination

on some improper basis, such as plaintiff’s membership in a

particular race or religion.     See Hernandez v. New York, 500

U.S. 352, 360 (1991).    Proof of discriminatory intent or purpose

is required to show a violation of the Equal Protection Clause.

Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S.

252, 265 (1977).

    B.    Nurse Judy Baker (Claim 2(a))

    Defendants move for summary judgment on the equal

protection claim against Nurse Baker.       The record before the

court includes no submission of evidentiary quality that

disputes the key facts asserted by Baker in her sworn statement.

Specifically, Baker asserts that, on August 10, 2011, she

reviewed the AVH discharge instructions, met with Pickens, and

ordered that he be scheduled for a consult with the DHMC plastic


                                   20
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 21 of 39




surgeon on August 15 or 16.     There is nothing in the record to

challenge the validity of Baker’s sworn statement that she

placed the August 10 consult order into an outbox for delivery

to the NCF transportation team.      Baker was out on leave for most

of the rest of August 2011, through September 6, 2011.         Baker’s

declaration further states that she treats inmates appropriately

based on their medical needs, and that race did not influence

her actions and decisions affecting the course of Pickens’s

treatment in August and September 2011.

    The record is devoid of evidence that Baker has handled a

consult order for any white inmate differently than she handled

Pickens’s.   Moreover, there is no evidence that Baker influenced

the timing of treatment for either Pickens or any white inmate,

while she was on leave from August 11 through August 29, and

from August 31 through September 6.      There is also no evidence

that Baker was are of the rescheduling of Pickens’s follow-up

appointment at the time it occurred, or that she took steps to

expedite the scheduling of any other similarly situated inmate

of a different race after the transportation team cancelled and

rescheduled an appointment for a post-surgical follow-up.

    Pickens has specifically asserted that a white inmate,

Stephen Rich, received prompter attention for injuries Rich


                                   21
      Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 22 of 39




suffered in a fight on August 15, 2011, a week after the assault

on Pickens.   Pickens testified at his deposition that after Rich

was injured on August 15, Rich was seen by the Catholic Medical

Center (“CMC”) plastic surgery group on August 24, 2011.

Pickens Dep. at 71-72 (doc. no. 136-3 at 19).

      Even if the court assumed those facts could be proven at

trial, the record does not include sufficient facts from which a

reasonable jury could conclude that Rich and Pickens were

similarly situated, for purposes of the equal protection claim

asserted against Nurse Baker.      A different NCF primary care

provider -- Dr. John Eppolito -- prepared Rich’s initial outside

provider consult order, and different outside specialists

treated Rich and Pickens.      The two consult orders were assigned

similar priorities.     See Baker Aff. ¶ 23 (doc. no. 136-52, at

3).   There is no evidence regarding the contents of the consult

order that could undermine Nurse Baker’s sworn statement in that

regard.   There is also no evidence in the record regarding the

course of Rich’s treatment after the August 24 initial

appointment, from which any factfinder could infer differential

treatment by Baker attributable to each inmate’s race.          Nothing

other than Pickens’s unsubstantiated speculation lies behind the

claim that alleged racial animus on Nurse Baker’s part caused or


                                    22
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 23 of 39




contributed to the delay in Pickens’s course of treatment.

Therefore, the motion for summary judgment should be granted as

to Claim 2(a).

    C.    Transport Officers (Claim 2(b))

    Pickens has offered no evidence raising a trial-worthy

issue regarding whether race discrimination was a motive for any

transport officer’s action or inaction affecting the timing of

either Pickens’s initial consultation appointment, or his post-

surgical follow-up appointments.        Defendants Jason Goyette,

Robert King, McCann, and Wilson specifically aver that they

performed their transportation team duties as to Pickens without

consideration of his race.     See Aff. of Robert King, July 31,

2015, ¶ 5 (doc. no. 136-50, at 2); Aff. of Jason Goyette, July

29, 2015, (“Goyette Aff.”) ¶ 11 (doc. no. 136-41, at 3); McCann

Aff. ¶ 11 (doc. no. 136-43, at 3); Wilson Aff. ¶ 14 (doc. no.

136-35, at 4).

    Although the record before the court indicates that Baker’s

August 10 consult order was not processed by the NCF

transportation department until August 16, there is no evidence

from which a reasonable factfinder could conclude that Pickens’s

race played any role in that delay.        Defendants Wilson, McCann,

and Goyette have submitted sworn statements to this court


                                   23
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 24 of 39




indicating that under-staffing between August 10 and August 16,

the intervening weekend (August 13-14), and other demands on the

transportation team’s time, explain why Pickens’s initial

consult order was not processed until August 16.        See Goyette

Aff. ¶ 12; Wilson Aff. ¶¶ 3, 6, 8-10; McCann Aff. ¶¶ 3-4.

Pickens has offered no submission of evidentiary quality to

dispute those explanations for the failure of the NCF

transportation team to process Baker’s August 10 consult order

prior to August 16.

    Pickens asserted in his deposition that Rich suffered

injuries on Monday, August 15, 2011, and that Rich was seen by

the CMC plastic surgery group on August 24 for an initial

consult.   Pickens has not presented any information of

evidentiary quality, however, to show that the consult order for

Rich was processed before Pickens’s was processed on August 16,

or to dispute the transportation officers’ sworn statements that

apart from several doctor’s appointments scheduled on August 10,

staffing issues and other demands on the team’s time prevented

them from processing any medical appointment consults prior to

August 16.

    As to Rich’s ability to obtain a consult appointment with a

CMC provider on August 24, versus Pickens’s August 31


                                   24
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 25 of 39




appointment, the record does not show that the inmates were

similarly situated.    The consult orders directed the

transportation team to contact different providers at different

facilities with, presumably, different availability in their

schedules.   In the absence of any evidence from which a jury

could conclude that Pickens and Rich were similarly situated but

treated differently, as to the processing of their initial

consult orders, Pickens has not shown that there is any genuine

issue of material fact as to whether race discrimination

affected the timing of Pickens’s initial appointment with Dr.

Freed.

    Furthermore, as to the timing of the post-surgical follow-

up appointment, Pickens has not presented a trial-worthy issue

regarding race discrimination.     Nothing in the record suggests

that any transportation officer, including Wilson, harbored

racial animus, and there is no indication that Wilson or any

other transportation officer managed the appointment schedules

and transportation needs of white inmates differently in similar

circumstances.   Accordingly, the motion for summary judgment

should be granted on Claim 2(b).

    D.    PLRA Exhaustion (Claims 2(a)(i) and (b)(i))

    Defendants cite the PLRA’s administrative exhaustion


                                   25
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 26 of 39




requirement as an independent ground for granting their motion

for summary judgment on Claims 2(a)(i) and 2(b)(i), which are

Pickens’s claims that race discrimination affected the delay in

the scheduling of his August 31 DHMC appointment.         The PLRA

requires an inmate to exhaust all available administrative

processes before filing a federal suit that relates to the

conditions of his or her confinement.       Booth v. Churner, 532

U.S. 731, 734 (2001).    Claims for which available administrative

remedies have not been properly exhausted are subject to

dismissal.   See Medina-Claudio v. Rodríguez-Mateo, 292 F.3d 31,

36 (1st Cir. 2002).

    PPD 1.16 provides for a three-tier exhaustion procedure

applicable to Pickens’s circumstances.       An inmate first files an

inmate request slip (“IRS”) at the unit level to complain about

an issue, within fourteen days of the incident.        To complete the

exhaustion process under PPD 1.16, the next step is to file a

grievance with the NCF Warden within thirty days after the date

of the unit-level’s response to the IRS.       The final step for the

inmate is an appeal of the Warden’s decision to the DOC

Commissioner, within thirty days after the date of the Warden’s

decision.    See PPD 1.16 ¶¶ II, III(F), IV(A)-(C).       The time

limits are mandatory, but waivers of the time limits may be


                                   26
        Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 27 of 39




granted upon request, pursuant to PPD 1.16.

     Pickens filed two IRSs, both dated September 11, 2011, in

which he asserted that there were racially discriminatory delays

in the scheduling of, and his transport to, his initial

appointment at DHMC.       In particular, Pickens asserted that two

DHMC appointments had been cancelled prior to August 31, and

that a white inmate had been seen by a specialist sooner for

less severe and later-acquired injuries.          See Doc. Nos. 136-11,

at 1-2 (Defs.’ Ex. C-6).

     NCF Nurse Ryan Landry responded to both IRSs in writing on

September 14, 2011, expressing in one response Landry’s belief

that Pickens was not a target of race discrimination.            See id.

at 2.    Landry’s second response instructed Pickens to request a

grievance form from NCF C.O. Perreault.          See id. at 1.

     The undisputed evidence in this case indicates that Pickens

did not appeal Landry’s IRS responses to the Warden or the

Commissioner concerning delays in scheduling his consultations

at DHMC in the relevant time period.5         Pickens seeks to excuse


5
  Pickens grieved matters relating to his failure to protect
claim in September 2011, but that grievance does not raise his
claims of racial discrimination and delays in the timing of his
August 31 appointment. Cf. Defs.’ Ex. P-4, Doc. No. 137-16
(Grievance Form, Pickens, Sept. 23, 2011); id. (Response to
Grievance, Chris Kench, Oct. 4, 2011).

                                      27
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 28 of 39




his failure to properly exhaust his remedies relating to the

alleged racially discriminatory delay in his initial DHMC

appointment by contending: (1) that the grievance process was

not designed to deal with claims like his, and that exhaustion

would have been futile; and (2) that he received no response to

an IRS he submitted on September 20.

    An inmate is not excused from grieving issues just because

he seeks relief that is not available through the grievance

process, so long as the process could provide some relief.             See

Booth, 532 U.S. at 736.    There is no “futility” exception to the

PLRA exhaustion requirement.     See id. at 741 n.6.      As Pickens

could have obtained some relief from the DOC administrative

grievance process concerning race discrimination in the

scheduling of his plastic surgery consultations, even if it was

not the relief he sought, the exhaustion requirement for those

claims is not excused.    Furthermore, the fact that prison

officials did not respond to Pickens’s September 20 IRS is not

relevant.   The September 20 IRS did not reiterate Pickens’s race

discrimination claims regarding the August 31 appointment.

Pickens’s equal protection claims regarding delays in the

initial DHMC appointment are not the subject of any IRS other

than the September 11 IRSs answered by Landry.        Pickens’s


                                   28
      Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 29 of 39




failure to exhaust available administrative remedies under PPD

1.16 is an independent ground upon which the district judge

should grant the motion for summary judgment on Claims 2(a)(i)

and 2(b)(i).

IV.   Eighth Amendment Medical Care (Claims 3(a)-(b))

      Defendants move for summary judgment on Pickens’s Eighth

Amendment medical care claims against Nurse Baker and Sgt.

Wilson (Claims 3(a)-(b)).6     Defendants assert that Pickens has

failed to present a triable issue with respect to the objective

and subjective aspects of his Eighth Amendment medical care

claims.

      A.   PLRA Exhaustion as to Delays in Initial Consultation

      Defendants cite the PLRA’s administrative exhaustion

6
  This court identified Claims 3(a)(i)-(ii) and 3(b)(i)-(ii), as
follows:

      Defendant NCF Nurse Judy Baker and Sgt. David Wilson
      violated Pickens’s Eighth Amendment rights in that, with
      deliberate indifference to a substantial risk of serious
      harm to Pickens:

           a.   Baker cancelled or delayed Pickens’s appointments
           for surgery and post-surgical care for facial
           injuries, (i.) prior to August 31, 2011, and/or (ii.)
           on September 14, 2011; and

           b.   Wilson did not arrange for Pickens to be
           transported for surgery and post-surgical care for
           facial injuries, (i.) prior to August 31, 2011, and/or
           (ii.) on September 14, 2011.

                                    29
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 30 of 39




requirement as one ground for granting their motion for summary

judgment on Claims 3(a)(i) and 3(b)(i), which are Pickens’s

claims that the delay in the scheduling of his August 31 DHMC

appointment violated his rights under the Eighth Amendment.

    Pickens’s September 11 IRSs assert that NCF staff members

deliberately delayed Pickens’s initial appointment at DHMC,

knowing there was a greater chance of irreparable damage to

Pickens due to the delay.     See Doc. Nos. 136-11, at 1-2 (Defs.’

Ex. C-6).   Those IRSs are the only IRSs filed within fourteen

days of Pickens’s August 31 appointment, which address whether

the delay manifested deliberate action in the face of a known

risk of harm to Pickens.    Pickens did not appeal Nurse Ryan

Landry’s September 14 IRS responses to the Warden or

Commissioner, or otherwise satisfy the exhaustion requirement by

raising any pertinent grievance to the Warden and Commissioner

in the relevant time period.     Accordingly, the motion for

summary judgment should be granted on Claims 3(a)(i) and 3(b)(i)

based on the PLRA.

    B.      Eighth Amendment Medical Claim Standard

    Defendants further contend that they are entitled to

summary judgment on the merits of all of Pickens’s Eighth

Amendment claims.    The Eighth Amendment protects an inmate from


                                   30
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 31 of 39




deliberate indifference to that inmate’s serious medical needs.

See Farmer, 511 U.S. at 831.     “To succeed on an Eighth Amendment

claim based on inadequate or delayed medical care, a plaintiff

must satisfy both a subjective and objective inquiry: he must

show first, ‘that prison officials possessed a sufficiently

culpable state of mind, namely one of “deliberate indifference”

to an inmate's health or safety,’ and second, that the

deprivation alleged was ‘objectively, sufficiently serious.’”

Leavitt v. Corr. Med. Servs., 645 F.3d 484, 497 (1st Cir. Me.

2011).    In the medical care context, a demonstration of

“deliberate indifference . . . requires evidence that the

failure in treatment was purposeful.”       Kosilek v. Spencer, 774

F.3d 63, 83 (1st Cir. 2014), cert. denied, 135 S. Ct. 2059

(2015).    “While deliberate indifference may . . . be exhibited

by a ‘wanton disregard’ to a prisoner’s needs, such disregard

must be akin to criminal recklessness, requiring consciousness

of ‘impending harm, easily preventable.’”       Id. (citations and

internal quotation marks omitted).      “‘[S]imple medical

malpractice’” or negligent conduct generally does not rise to

the level of an Eighth Amendment violation.        Perry v. Roy, 782

F.3d 73, 79 (1st Cir. 2015) (citation omitted); Leavitt, 645

F.3d at 497.


                                   31
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 32 of 39




    C.    Nurse Judy Baker (Claim 3(a))

    The record contains no evidence suggesting that Nurse Baker

was deliberately indifferent to Pickens’s medical needs.          It is

undisputed: (1) that on August 10, 2011, Baker issued an order

for a consultation with a DHMC plastic surgeon, on which she

wrote the dates 8/15 or 8/16 to signify the dates for the

appointments; (2) that DOC policies make the NCF transportation

team responsible for setting up outside provider appointments;

and (3) that Baker put her August 10 consult order into an

outbox for delivery to the transportation team before she was

out of the office for most of the rest of August 2011.         There is

no evidence that Baker was subjectively aware that her August 10

consult order would not yield an initial consultation for

Pickens until August 31; or that Baker was otherwise

subjectively aware of any impending harm to Pickens, easily

preventable by her, with respect to the scheduling of the

initial consult appointment.     Accordingly, Pickens has failed to

show that there is a triable issue as to whether Baker was

deliberately indifferent to Pickens’s serious medical needs,

relating to the initial consult in August 2011.

    It is further undisputed that Pickens remained under NCF

Health Service Center care while Baker was not at NCF.         There is


                                   32
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 33 of 39




no evidence suggesting that Baker was subjectively aware of any

substantial risk to Pickens that NCF health providers would not

address in her absence.

    Finally, the record contains no evidence that Baker acted

with deliberate indifference to a substantial risk of serious

harm with respect to the timing of Pickens’s post-surgical

follow-up appointment.     Baker was not generally responsible for

scheduling or rescheduling appointments.       There is no evidence

that Baker was aware of the decision not to send Pickens to the

September 14 appointment at 2 p.m., and there is no evidence

that she was subjectively aware of any substantial risk of harm

to Pickens that could result from moving the follow-up

appointment from September 14 to September 27.        In the absence

of such evidence of subjective awareness of a substantial risk

of serious harm on Baker’s part, there is no triable issue of

fact as to whether Baker was deliberately indifferent to

Pickens’s medical needs.    Accordingly, the motion for summary

judgment should be granted as to Claim 3(a).

    D.    Sgt. David Wilson (Claim 3(b))

          1.    August 31 Appointment (Claim 3(b)(i))

    Pickens has also failed to show that there is a genuine

issue of material fact regarding whether Sgt. Wilson was


                                   33
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 34 of 39




deliberately indifferent to Pickens’s needs for medical

appointments and transports in August 2011.        It is undisputed

that Wilson was on leave from August 8 through August 14.          See

Wilson Aff. ¶ 8 (doc. no. 136-35, at 2).       Wilson’s affidavit

further states that he was primarily out of the office running

transports on August 15 and 16, and there is no evidence to

dispute that fact.   There is also no evidence indicating that

Wilson knew about the existence of the August 10 consult order

during the periods when he was in the office on August 15 or 16.

Lacking any evidence from which a jury could infer Wilson’s

subjective awareness that the August 10 consult order awaited

action by the transportation team prior to August 16, the record

does not substantiate that there is a genuine issue of fact

regarding whether Wilson was deliberately indifferent, with

respect to the August 10 consult order.       Accordingly, the

district judge should grant summary judgment on Claim 3(b)(i)

against Wilson.7



7
  Pickens has not moved this court to substitute any other
transport officer for Sgt. Wilson, with respect to Claim
3(b)(i). Even if Pickens had so moved, summary judgment on the
claim would be proper under the PLRA, as Pickens did not appeal
the September 11 IRS, and did not file any other timely IRS or
grievance to the Warden and Commissioner relating to any
transport officer’s involvement in Pickens’s delayed receipt of
specialty care prior to August 31.
                                34
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 35 of 39




          2.    Post-Surgical Appointment (Claim 3(b)(ii))

    With respect to the post-surgical follow-up appointment,

Sgt. Wilson’s sworn statement is that he cancelled the September

14 appointment, believing that Pickens could not arrive on time

for a 2 p.m. appointment, when DHMC told Wilson on September 14

that the 3 p.m. slot was no longer available.        While there is

evidence that might undermine a factfinder’s confidence in the

accuracy of Wilson’s time calculation, namely, evidence that the

trip can be completed in about two hours and fifteen minutes,

there is no evidence that Wilson was subjectively aware that

delaying the follow-up appointment to September 27 rather than

rushing Pickens to a 2 p.m. appointment subjected Pickens to an

avoidable substantial risk of serious harm.        There is no

evidence suggesting, for example, that the DHMC appointment

coordinator said anything to Wilson regarding the new

appointment date when she offered it to Wilson, which could

generate a jury question on whether Wilson had the requisite

state of mind of deliberate indifference, to allow the Eighth

Amendment claim to go to the jury.

    Baker’s September 13 consult order, which directed the

transportation team to schedule the September 14 appointment,

stated that a follow-up appointment should be scheduled for


                                   35
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 36 of 39




Pickens on September 14 at 3 p.m.       The consult order further

explained that the specified date had been selected by DHMC.

The undisputed evidence shows that DHMC offered September 27 as

the next available date for Dr. Freed to see Pickens, when

Wilson cancelled the 2 p.m. September 14 appointment.         Baker’s

consult order does not state any other facts regarding Pickens’s

condition or medical needs that, per se, would permit a jury to

conclude that Wilson was aware that delaying the post-surgical

appointment until September 27 subjected Pickens to a risk of

serious harm.

    Dr. Freed’s notes prepared after the September 27

appointment indicate that Dr. Freed spoke with a supervising

guard about the importance of Pickens attending follow-up

appointments as scheduled.     Nothing in the record, however,

links Wilson with that conversation.       Cf. Leavitt, 645 F.3d at

502 (“to make out a cognizable Eighth Amendment claim against

healthcare providers in their individual capacity, [plaintiff]

must demonstrate that there is sufficient evidence for a

reasonable factfinder to conclude that each . . . defendant was

‘aware of facts from which the inference could be drawn that a

substantial risk of serious harm exists,’ and that each

defendant did, in fact, ‘draw the inference’” (emphasis in


                                   36
      Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 37 of 39




Leavitt) (quoting Farmer, 511 U.S. at 837)).         Pickens’s

deposition testimony is that Dr. Freed spoke to C.O. McCann;

Pickens has never asserted that Dr. Freed spoke with Wilson, and

there are no NCF documents in the record suggesting Wilson’s

awareness of that conversation.

      The absence of a jury question regarding Wilson’s

deliberate indifference is further manifest in a notation in

Pickens’s NCF medical records, dated “1100” hours on September

14.   The progress note, prepared and signed by Nurse Ryan

Landry, states that Sgt. Wilson notified the nursing staff that

Pickens’s appointment had been rescheduled to September 27.             See

Doc. No. 137-10, at 42 (NCF Progress Notes, Sept. 14, 2011)

(Bates No. 000103).     The provision of such notice to the NCF

staff responsible for assessing and addressing Pickens’s

evolving medical needs belies the claim that Wilson was

deliberately indifferent to Pickens’s medical needs on September

14.   Given the lack of evidence of Wilson’s awareness of any

substantial risk of serious harm to Pickens, the district judge

should grant defendants’ joint motion for summary judgment on

Claim 3(b)(ii).

V.    Howard Kelley

      The remaining defendant in this action, former DOC employee


                                    37
     Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 38 of 39




Howard Kelley, has not been served and has not appeared in this

action.     The court notified plaintiff in a status conference on

March 27, 2015, that service upon Kelley had to be completed

within 120 days.     The court, at plaintiff’s request and in

consultation with defendants’ counsel, took substantial steps to

find an address for Kelley that could be used to serve process

upon him.    When a subpoena to the New Hampshire State Employee

Retirement System, seeking the last known address for Kelley

failed to yield an appropriate street address for Kelley, the

court in its June 5, 2015, Order (doc. no. 126) (“Service

Order”), explained that, for that reason, it was taking no

further action as to Kelley.

    The 120-day period for Kelley to be served has since

passed.     Dismissal without prejudice of all claims asserted

against Kelley is thus appropriate at this time, pursuant to

Federal Rule of Civil Procedure 4(m).



                              Conclusion

    For the foregoing reasons, the district judge should grant

the motion for summary judgment filed by defendants Judy Baker,

Jason Goyette, Keith Griffin, Ralph Jesseman, Robert King,

Michael McCann, Edward McFarland, Terry Oliver, Michael Wedge,


                                   38
      Case 1:14-cv-00028-SM Document 173 Filed 01/22/16 Page 39 of 39




and David Wilson (doc. no. 136), as to all claims asserted

against them.    All claims asserted against the remaining

defendant, Howard Kelley, should be dismissed without prejudice,

pursuant to Federal Rule of Civil Procedure 4(m).          Plaintiff’s

petition for a writ of habeas corpus ad testificandum (doc. no.

168) should be denied as moot, and the Clerk should be directed

to enter judgment and close the case.

      Any objections to this Report and Recommendation must be

filed within fourteen days of receipt of this notice.          See Fed.

R. Civ. P. 72(b)(2).     Failure to file objections within the

specified time waives the right to appeal the District Court’s

order.   See Garayalde-Rijos v. Mun. of Carolina, 747 F.3d 15,

21-22 (1st Cir. 2014).




                                  __________________________
                                  Andrea K. Johnstone
                                  United States Magistrate Judge


January 22, 2016

cc:   Ivan Mosi Pickens, pro se
      Lynmarie C. Cusack, Esq.
      Nancy J. Smith, Esq.




                                    39
